                Case 4:98-cr-00091-DPM                       Document 1846          Filed 05/14/10          Page 1 of 2
 ~AO 245D    (Rev. 12/07) Judgment in a Criminal Case for Revocations
             Sheet 1
                                                                                                                        U.FJ~mRT
                                                                                                                  EASTERN DISTRICT ARKANSAS

                                     UNITED STATES DISTRICT COURT         MAY 142010
                                            Eastern District of Arkansas ~:~K
          UNITED STATES OF AMERICA                                      Judgment in a Criminal Case                                   EP CLERK
                      v.                                                (For Revocation of Probation or Supervised Release)
             NIGEL EUGENE AUSTIN

                                                                        Case No. 4:98cr00091-03 JMM
                                                                        USM No. 21437-009
                                                                         Omar Greene
                                                                                                Defendant's Attorney
THE DEFENDANT:
~ admitted guilt to violation of condition(s)           General & Special              of the term of supervision.
D was found in violation of condition(s)              _ _ _ _ _ _ _ _ _ _ after denial of guilt.
The defendant is adjudicated guilty of these violations:


Violation Number             Nature of Violation                                                               Violation Ended
General                         Failure to refrain from use of a controlled substance                       02/26/2009

Special                         Failure to complete residential re-entry center                             09/17/2009

Special                         Failure to report for drug testing                                          03/23/2010



       The defendant is sentenced as provided in pages 2 through            2      of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully pa~d. ~f ordered to pay restitution, the defendant must notify the court and United States attorney of material changes In
economic Clfcumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 3133                     05/14/2010
                                                                                           Dale of Imposition of Judgment
Defendant's Year of Birth:         1976
                                                                        G-t.~               VVl      \IV1 QIQ
                                                                        ~---S-i-gn-a-tu-r-e-Of-J-U-dg-e-1~---------
                                                                                                                    %_
City and State of Defendant's Residence:
Little Rock, Arkansas
                                                                        James M. Moody                               US District Judge
                                                                                              Name and Title of Judge

                                                                        05/14/2010
                                                                                                        Date
                     Case 4:98-cr-00091-DPM                     Document 1846       Filed 05/14/10       Page 2 of 2
  AD 245D      (Rev. 12/07) Judgment in a Criminal Case for Revocations
               Sheet 2- Imprisonment

                                                                                                 Judgment - Page _,;;;;,2_ of     2
  DEFENDANT: NIGEL EUGENE AUSTIN
  CASE NUMBER: 4:98cr00091-03 JMM


                                                                  IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
  total term of :
FIVE (5) MONTHS




       ~ The court makes the following recommendations to the Bureau of Prisons:
The defendant shall participate in whatever substance abuse treatment available.
The defendant shall serve his term of imprisonment at Forrest City, Arkansas.


       D The defendant is remanded to the custody of the United States Marshal.

       D The defendant shall surrender to the United States Marshal for this district:
           D    at    _ _ _ _ _ _ _ _ _ D a.m.                      [] p.m.    on
           D    as notified by the United States Marshal.

       ~ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons;
           ~ before 2 p.m. on _06_1_14_1_2_01_0                           _
           D    as notified by the United States Marshal.
           D    as notified by the Probation or Pretrial Services Office.

                                                                          RETURN

  I have executed this judgment as follows:




           Defendant delivered on                                                    to

  at   _ _ _ _ _ _ _ _ _ _ _ _ _ _ with a certified copy of this judgment.




                                                                                             UNITED STATES MARSHAL


                                                                              By     ---===-=~~=_=="':""=::_:_::_:_:_=_=~----
                                                                                          DEPUTY UNITED STATES MARSHAL
